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Additional Defendants-Proposed Search Terms for Plaintiffs
refund w/20 deposit*
credit w/20 deposit*
reimburs* w/20 deposit*
return* w/20 deposit*
Andrew w/1 Amerio
Richard w/1 Onayiga
Anthony w/1 Trocchio
Tony w/1 Trocchio
William w/1 Davis
Bill w/1 Davis
Dania w/1 Luna
Dania w/2 Serretti
Ruben w/1 Estrella
(redeem* OR redemption*) w/20 (cardboard* OR carrier* OR carton*
OR bottle*)
(redeem* OR redemption*) w/20 deposit*
return* w/10 (cardboard* OR carrier* OR carton*)
(sale* OR sell*) /10 (cardboard* OR carrier* OR carton*)
Wittels w/1 McInturff
“Returnable Container Act”
“five cents” w/10 bottle*
0.05 w/10 bottle*
“5 cents” w/10 bottle*
1.20 w/10 case*
dollar w/2 (twenty or 20) w/10 case*
10 w/1 cent*
10-cent*
